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                               UNITED STATES DISTRICT COURT
                                                                    for the
                                                          Eastern District of Michigan


                   United States of America                         )
                                                                    )
                                 v.                                 )
                                                                    )          Case No. 20-30163-1
                  Dr. Charles Donald Mok                            )
                                                                    )
                                                                    )


                                 ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:

       (1) The defendant must not violate federal, state, or local law while on release.

       (2) The defendant must cooperate in the collection of a DNA sample if the collection is authorized by 42
           U.S.C. § 14135a.

       (3) The defendant must advise the court or the pretrial services office or supervising officer in writing
           before making any change of residence or telephone number.

       (4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve
           a sentence that the court may impose.

              The defendant must appear at (if blank, to be notified) :


                                                                   Place
              on 5/19/20 at 1pm
                                                               Date and Time

              If blank, defendant will be notified of next appearance.

       (5) The defendant must sign an Appearance Bond, if ordered.
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                                           ADDITIONAL CONDITIONS OF RELEASE

IT IS FURTHER ORDERED that the defendant’s release is subject to the conditions marked below:

“      (6) The defendant is placed in the custody of
           (See separate Agreement to Assume Custody of the Defendant).

“
✔      (7) The defendant must:
              “
              ✔     (a) report, as directed, to:
                        “
                        ✔ Pretrial Services.
                        “ Probation Department.

               “ (b) continue or actively seek employment.

               “ (c) continue or start an education program.

               “ (d) agree not to apply for or enter into any loan or other credit transaction without the previous
                     written permission of the pretrial services office or supervising officer.

              “
              ✔     (e) surrender any passport to: PTS no later than 04/28/2020 at 4:00 PM

              “
              ✔     (f) not obtain a passport or other international travel documents.

              “
              ✔     (g) abide by the following restrictions on personal association, place of abode, or travel:
                           “     Travel restricted to the Eastern District of Michigan;
                           “     Travel restricted to the State of Michigan;
                           “
                           ✔     Travel restricted to: United States
                                 unless I have the previous consent of the pretrial services office, supervising officer or
                                 the court.

               “ (h) avoid all contact, directly or indirectly, with any person who is or may become a victim or
                     witness in the investigation or prosecution, including but not limited to:
                     “ List to be provided by U.S. Attorney;
                     “ Other persons:

               “ (i) get medical or psychiatric treatment.

               “ (j) return to custody each (week) day at         o’clock after being released each (week) day
                     at         o’clock for employment, schooling, or the following purpose(s):


               “ (k) maintain residence at a halfway house or community corrections center, as the pretrial
                     services office or supervising officer considers necessary.

               “ (l) not possess a firearm, destructive device, or other dangerous weapons.


               “ (m) not use alcohol:
                     “ at all.
                     “ excessively.
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               “ (n) not use or unlawfully possess a narcotic drug or other controlled substances defined in
                     21 U.S.C. § 802, unless prescribed by a licensed medical practitioner.
               “
               ✔ (o) submit to any testing required by the pretrial services office or supervising officer to
                     determine whether the defendant is using a prohibited substance. Testing may be used with
                     random frequency and include urine testing, the wearing of a sweat patch, a remote alcohol
                     testing system, and/or any form of prohibited substance screening or testing. The defendant
                     must not obstruct or attempt to obstruct or tamper with the efficiency and accuracy of any
                     prohibited substance screening or testing. 1 time, discontinue if negative
               “ (p) participate in a program of inpatient or outpatient substance abuse therapy and counseling if
                     directed by the pretrial services office or supervising officer.
               “ (q) participate in one of the following location restriction programs and comply with
                     requirements as directed:
                           “     (i) Curfew. You are restricted to your residence every day:
                                 G from                                      to                                      , or
                                 G as directed by the pretrial services office or supervising officer; or
                           “     (ii) Home Detention. You are restricted to your residence at all times except for
                                      employment; education; religious services; medical, substance abuse, or mental
                                      health treatment; attorney visits; court appearances; court-ordered obligations; or
                                      other activities pre-approved by the pretrial services office or supervising officer;
                                      or
                           “     (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down except for
                                       medical necessities and court appearances or other activities specifically approved
                                       by the court.
               “ (r) submit to location monitoring as directed by the pretrial services office or supervising
                     officer and comply with all of the program requirements and instructions provided.

                           “     You must pay all or part of the cost of the programs based upon your ability to pay as
                                 the pretrial services office or supervising officer determines:
                                 “ (i) Location monitoring technology as directed by the pretrial services office or
                                            supervising officer;
                                 “ (ii) Radio Frequency (RF) monitoring;
                                 “ (iii) Passive Global Positioning Satellite (GPS) monitoring;
                                 “ (iv) Active Global Positioning Satellite (GPS) monitoring (including “hybrid”
                                            (Active/Passive) GPS);
                                 “ (v) Voice Recognition monitoring.

               “ (s) report as soon as possible, to the pretrial services office or supervising officer, every contact
                     with law enforcement personnel, including arrests, questioning or traffic stops.
               “
               ✔ (t)       Remove all firearms from the bond address and provide Pretrial Services with
                           documentation that all firearms have been removed, no later than May 1, 2020 at 4:00 PM
                           (1) The defendant cannot bill or cause to be billed Medicare or Medicaid for any services
                           performed at any of his 26 locations, (2) the defendant cannot perform any in person
                           nonessential or non life supporting procedures at his clinics where there is a stay at home
                           order (Michigan and Florida) i.e. vein treatment, botox injections (continued)

     or dermatology procedures, the defendant cannot perform any Vitamin C IV infusion at any of his locations or
     any affiliated locations, to include IV Drip in Birmingham, MI
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                                  s/R. Steven Whalen


                                  R. Steven Whalen/U.S. Magistrate Judge
